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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
                                                 §
VS.                                              §     CRIMINAL NO. H-11-340
                                                 §
                                                 §
                                                 §
THOUNG HONG NGUYEN, et al.                       §


                               MEMORANDUM AND ORDER

       The defendant, Thuong Thomas-More Vo, has moved for a new trial based on this court’s

denial of the motion for acquittal made at the conclusion of the evidence; in denying the motion for

mistrial when the jury first announced it was not able to reach a unanimous verdict; in giving an

Allen charge; in allowing J.D. Talton to testify as to a nickname of the defendant; by allowing J.D.

Talton to testify as both a fact and expert witness; in allowing evidence of a prior conviction;

because the government commented on the defendant’s decision not to testify; and in denying the

severance motion. (Docket Entry No. 366). The government must file a response no later than

January 25, 2013.

               SIGNED on December 20, 2012, at Houston, Texas.


                                                     ______________________________________
                                                              Lee H. Rosenthal
                                                        United States District Judge
